Case 6:03-cv-00047-NKM-BWC Document19 Filed 07/09/04 Pagelof3 Pageid#: 5

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
LYNCHBURG DIVISION

ARVINMERITOR, INC., and
DELTA ACQUISITION CORP.,

Plaintiffs,

DANA CORPORATION,

Defendant.

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Civil No. 6:03C V00047

CLERK'S OFFICE U.S, DIST. COURT
AT LYNCHBURG, VA
FILED

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CONSENT ORDER OF DISMISSAL WITH PREJUDICE

The Parties, by counsel and pursuant to Federal Rule of Civil Procedure 41(a), have
provided notice to the Court that all matters in controversy in this action have been resolved and,
therefore, have requested a dismissal of this action, including all claims, defenses, counterclaims
and other matters in controversy pled herein.

Accordingly, it hereby is ORDERED that this action, including all claims, counterclaims
and other matters in controversy pled herein, is DISMISSED WITH PREJT.JDICE, with each

party to bear its own costs and attorneys’ fees.

The Clerk of Court is DIRECTED to strike this matter from the active docket of this
Court and to return certified copies of this Order to counsel for the parties herein.

SO ORDERED thiftthiay on ly, 2004,

RKE# 0845234 WPD-1, 106818-00001-01

WE ASK FOR THIS:

RKE# 0874481. WPD-1, 106818-00001-01

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United States District Judge

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